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                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND


 LESTER LEE,

           PLAINTIFF

 v.
                                                                                  Case No. 8:24-cv-01205-TJS
 BROOKSIDE PARK CONDOMINIUM,
 INC., METROPOLIS (aka MCM, INC.),
 RAMMY AZOULAY AND LAMONT
 SAVOY

           DEFENDANTS


 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS BROOKSIDE PARK
CONDOMINIUM, INC., METROPOLIS (aka MCM, INC.), AND RAMMY AZOULAY’S
OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS SECOND AND
     FOURTH AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT


          Defendants Brookside Park Condominium, Inc., Metropolis (aka MCM, Inc.), and Rammy

Azoulay (Collectively “Brookside”), through their attorneys Anthony D. Dwyer and Eccleston and

Wolf, P.C., respectfully submits the following Opposition to Plaintiff’s Motion to Strike

Defendants’ Second and Fourth Affirmative Defenses to Plaintiff’s Complaint. The Court should

deny plaintiff’s motion because (1) Brookside has provided Plaintiff with proper notice of their

Second Affirmative Defense. This motion is disingenuous. The PG ordinance is cited in a letter

attached to the complaint, which is Prince George’s County Maryland, § 3-185.01 (1997), and (2)

Brookside is entitled to medical information prior to granting an accommodation thus the motion

to strike the Fourth Affirmative Defense Should be Denied. Alternatively, Brookside is entitled

to a Motion For a More Definite Statement thus Plaintiff’s request to strike The Fourth Affirmative

Defense should be denied. Also, it would be premature to strike any affirmative defenses. A




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Memorandum of Law is attached hereto and incorporated herein. hereby submit this memorandum

of law in support of their opposition to the motion to strike the second and fourth affirmative

defenses. As stated previously, the motion should be denied because plaintiff is on notice of the

PG ordinance banning pit bulls and a letter with the citation of the ordinance is attached to the

complaint. It is disingenuous. Additionally, plaintiff is on notice of a condition precedent of the

need to provide medical documentation to support a claim for an accommodation. Lastly, the

motion should be denied as premature.

        Legal Standard:

        Striking a defense from a pleading is a "drastic remedy" generally disfavored by the courts.

See Arora v. Daniels, 3:17-cv-134, 2018 U.S. Dist. LEXIS 55777, 2018 WL 1597705, *14

(W.D.N.C. Apr. 2, 2018) (quoting Waste Mgmt. Holdings, Inc. v. Gilmore, 252 F.3d 316, 347 (4th

Cir. 2001)). The purpose of Fed R. Civ. P. 8(c) is to "Give the opposing party notice of the defense

and to permit the opposing party to develop in discovery and present both evidence and argument

before the district court responsive to the defense." Rhodes v. United States, 967 F. Supp. 2d 246,

252 (D.D.C. 2013). Rule 8(c), on the other hand, requires that all "avoidance or affirmative

defenses" be affirmatively pled in the answer. We have defined these defenses as "the defendant's

assertion raising new facts and arguments that, if true, will defeat the plaintiff's . . . claim, even if

all allegations in the complaint are true. Generally speaking, affirmative defenses share the

common characteristic of a bar to the right of recovery even if the general complaint were more or

less admitted to." Emergency One, Inc. v. American Fire Eagle Engine Co., 332 F.3d 264, 271

(4th Cir. 2003) (citation and quotation marks omitted). Under Fed. R. Civ. P (9)(c) (c) Conditions

Precedent, in pleading conditions precedent it suffices to allege generally that all conditions




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precedent have occurred or been performed. But when denying that a condition precedent has

occurred or been performed, a party must do so with particularity.

       I.      Brookside Defendants Have Provided Plaintiff With Proper Notice of Their
               Second Affirmative Defense.


       Striking a defense from a pleading is a "drastic remedy" generally disfavored by the courts.

See Arora v. Daniels, 3:17-cv-134, 2018 U.S. Dist. LEXIS 55777, 2018 WL 1597705 (W.D.N.C.

Apr. 2, 2018) (quoting Waste Mgmt. Holdings, Inc. v. Gilmore, 252 F.3d 316, 347 (4th Cir. 2001)).

The purpose of Fed R. Civ. P. 8(c) is to "Give the opposing party notice of the defense and to

permit the opposing party to develop in discovery and present both evidence and argument before

the district court responsive to the defense." Rhodes v. United States, 967 F. Supp. 2d 246, 252

(D.D.C. 2013).

       In Moore v. United States, 318 F. Supp. 3d 188, 193 (D.D.C. 2018), the Plaintiff moved to

strike Defendants affirmative defense of Contributory Negligence based on failure to provide fair

notice. In rejecting Plaintiff’s challenge, the Court relied on Paleteria La Michoacana v. Productos

Lacteos, 905 F. Supp. 2d 189 (D.D.C. 2012), which found “Sufficient the "common practice" of

presenting each affirmative defense in a single sentence.” Further, “Discovery provides the proper

avenue for further investigation into the claims and affirmative defenses raised, at which time the

Court may determine the sufficiency of both.” Paleteria, 905 F. Supp. 2d at 192-93.

       Here, Plaintiff asserts Brookside Defendants failed to give fair notice as to the exact county

ordinance, that is asserted in the Answer. Pl. Motion at 3. However, the case they rely on is an

unreported decision and should not serve as controlling authority. Id. Much like in Paleteria,

Brookside Defendants Second Affirmative Defense is completed in one sentence, thus it should

not be stricken. Further, Counsel for the Plaintiff is already aware of the ordinance, raised in the



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Brookside Defendants answer. This is because Counsel for the Plaintiff cited the ordinance, in a

letter attached to the Complaint, which is Prince George’s County Maryland, § 3-185.01 (1997).

In addition to Plaintiff failing to cite controlling authority, their Motion is premature under the

holding of Paleteria as Discovery has not occurred. Thus, the Court should allow Discovery to

occur first, before making a determination to strike Brookside Defendants Second Affirmative

Defense.

       II.     Brookside Defendants Are Entitled to a Motion For a More Definite Statement
               Thus Plaintiff’s Request to Strike The Fourth Affirmative Defense Should be
               Denied.


       Rule 9(c) provides that "[i]n pleading conditions precedent, it suffices to allege generally

that all conditions precedent have occurred or been performed. But when denying that a condition

precedent has occurred or been performed, a party must do so with particularity." The court does

not, however, find the "drastic remedy" of striking such Answer to be appropriate. Instead, the

better remedy is a "motion for more definite statement" under Rule 12(e), which is applicable to

answers as well as complaints. EEOC v. Bo-Cherry, Inc., No. 3:13-cv-00210-MOC-DSC, 2013

U.S. Dist. LEXIS 74627 (W.D.N.C. May 28, 2013).

       Here, Plaintiff requests that the Court Strike Brookside Defendant’s Fourth Affirmative

Defense, based on failing to comport with Fed. R. Civ. P 9(c). Pl Motion at 4. However, under the

holding of Bo-Cherry, Inc., the proper remedy in this situation is a motion for a more definite

statement. The condition precedent not met is that plaintiffs have not supplied any medical

documentation supporting the claimed need for an accommodation.            Brookside Defendants

respectfully ask that the Court deny Plaintiff’s Motion to Strike Brookside Defendant’s Fourth

Affirmative Defense, and instead allow for Brookside to provide a more definite statement as to

the defense of failure to meet a condition precedent.

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       Thus, Plaintiff’s Motion to Strike Brookside Defendants Fourth Affirmative Defense

should be denied, and instead this Court should give Brookside Defendants the opportunity to

provide a more definite statement.

       III.   Conclusion:

       WHEREFORE, Brookside Defendants respectfully ask the Court, to deny Plaintiff’s

Motion to strike Brookside Defendants second and fourth affirmative defenses.



Respectfully submitted,



/s/Anthony D. Dwyer ______________
Anthony D. Dwyer (415575)
Eccleston & Wolf, P.C.
Baltimore-Washington Law Center
7240 Parkway Drive, 4th Floor
Hanover, MD 21076-1378
(410) 752-7474 (phone)
(410) 752-0611 (fax)
E-mail: dwyer@ewva.com
Attorney for Defendants


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of July, 2024, copies of the foregoing

DEFENDANTS BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka MCM,

INC.), AND RAMMY AZOULAY’S OPPOSITION TO PLAINTIFF’S MOTION TO

STRIKE DEFENDANTS SECOND AND FOURTH AFFIRMATIVE DEFENSES TO

PLAINTIFF’S COMPLAINT were served by first-class mail, postage prepaid to:




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                   Richard Bruce Rosenthal, Esq.
                   545 E. Jericho Turnpike
                   Huntington Station, NY 11746
                   631.629.8111 (Phone
                   richard@thedoglawyer.com
                   Pro Hac Vice



                                      /s/Anthony D. Dwyer
                                      Anthony D. Dwyer (415575)




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